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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


IN THE MATTER OF THE COMPLAINT,                         Civil Action No.:

                  - of -                           MOTION FOR ORDER
                                                   RESTRAINING SUITS,
STEPHEN SCHULTZ, as Owner of the “SCHULTZ APPROVING PETITIONER’S
SEA”, a 2018 32’ Pursuit 325, for Exoneration from SECURITY, DIRECTING ISSUE
or Limitation of Liability,                        OF NOTICE AND THE
                            Petitioner.            FILING OF CLAIMS



         NOW COMES, STEPHEN SCHULTZ, as Owner of the “SCHULTZ SEA”, a 2018 32’

Pursuit 325 (hereinafter, “Petitioner”) by his attorneys HOLBROOK & MURPHY, and

respectfully requests that this court issue an Order Restraining Suits, Approving Petitioner’s

Security, and Directing Issue of Notice and the Filing of Claims. In support of her Motion,

Plaintiff submits the following.

         On or about December 19, 2019, Petitioner, as owner of the “SCHULTZ SEA”, a 2018

32’ Pursuit 325 (hereinafter, the “Vessel”).petitioned this court for Exoneration from or

Limitation of Liability, pursuant to 46 U.S.C. §§ 30501, et seq. and Rule F of the Supplemental

Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions of the Federal Rules of

Civil Procedure concerning any alleged claims, damages, and/or losses arising out of a fire

involving the Vessel on or about June 23, 2019, as more fully described in the Complaint.

         In accordance with Rule F of the Supplemental Rules for Admiralty or Maritime Claims

and Asset Forfeiture Actions of the Federal Rules of Civil Procedure, the Petitioner’s Complaint

states the facts and circumstances upon which Exoneration from or Limitation of Liability is

claimed. Petitioner also states that it appears that claims may be made against the Plaintiff and/or



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the Vessel for losses, damages, casualties or injuries alleged to have been sustained during the

fire on the Vessel which was on navigable waters.

       Plaintiff engaged Kyle Antonini of Martin, Ottaway, van Hemmen & Dolan, Inc. to

establish the post-casualty value of the Vessel and her pending freight. Mr. Antonini and Martin,

Ottaway, van Hemmen & Dolan, Inc. are experienced Marine Consultants, Engineers, Surveyors,

Naval Architects and Appraisers. Based upon his inspection of the Vessel and his professional

judgment, Mr. Antonini opines that the post-casualty value of the Vessel and her pending freight

is $1,000. A copy of the Vessel Appraisal is attached to the Complaint as Exhibit A.

       Plaintiff also undertakes to deposit with the court within thirty (30) days of this Order the

amount of $250.00 as security for costs in accordance with Rule F(1) of the Supplemental Rules

for Admiralty or Maritime Claims and Asset Forfeiture Actions of the Federal Rules of Civil

Procedure.

               WHEREFORE, Petitioner, STEPHEN SCHULTZ, prays:

       (1)     That this Court issue an Order (Exhibit C to the Complaint, “proposed Order”) to

               include the following:

               (a)    Directing the issuance of Notice to all persons asserting
                      claims with respect to the June 23, 2019 fire, which this
                      Complaint seeks Exoneration from or Limitation of
                      Liability to file their respective claims with the Clerk of
                      this Court and to serve undersigned counsel for Petitioner a
                      copy on or before a date to be named in the Notice.
                      (Exhibit D to the Complaint, “proposed Notice”).

               (b)    Directing Petitioner to file an Ad Interim Security as
                      security for the benefit of any and all Claimants, in the
                      amount of Petitioner’s interest in the post-fire value of the
                      Vessel as of the date of the fire, with interest at the rate of
                      6% per annum from the date of said security or whenever
                      the Court shall so order.

               (c)    Directing that upon Petitioner’s filing of an Ad Interim
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                      Security, an injunction shall issue enjoining the prosecution
                      against Petitioner, their representatives, insurers, and the
                      Vessel of any and all claims, suits, action or proceedings,
                      whether or not already begun, with respect to the fire,
                      except in this proceeding.

       (2)    That Petitioner may have such other and further relief as the justice of the cause
              may require.

Dated: Boston, Massachusetts
       December 19, 2019

                                                    Respectfully Submitted,
                                                    Petitioner, STEPHEN SCHULTZ,
                                                    By his attorneys,

                                                    /s/ Samuel P. Blatchley
                                                    Robert J. Murphy BBO# 557659
                                                    Samuel P. Blatchley BBO# 670232
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                               CERTIFICATE OF SERVICE

         I hereby certify that on December 19, 2019, I electronically filed the within document
with the Clerk of the Court using the CM/ECF system which will send notification of such filing
to all counsel of record.



                                                    /s/ Samuel P. Blatchley
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